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                               UNITED STATES COURT OF APPEALS
                                    FOR THE SIXTH CIRCUIT
                        CIVIL APPEAL STATEMENT OF PARTIES AND ISSUES

Case No: 23-5600                          Case Manager: C. Anthony Milton

Case Name: L.W., et al. vs. Jonathan Skrmetti, et al.

Is this case a cross appeal?     Yes        ✔No
Has this case or a related one been before this court previously?        Yes   ✔   No
If yes, state:
   Case Name:                                    Citation:
   Was that case mediated through the court’s program?         Yes       No

Please Identify the Parties Against Whom this Appeal is Being Taken and the Specific Issues You
Propose to Raise:
Appellants, Defendants below, are Jonathan Skrmetti, in his official capacity as the Tennessee Attorney General
and Reporter; Tennessee Department Of Health; Ralph Alvarado, in his official capacity as the Commissioner of
the Tennessee Department of Health; Tennessee Board Of Medical Examiners; Melanie Blake, in her official
capacity as the President of the Tennessee Board of Medical Examiners; Stephen Loyd, in his official capacity
as Vice President of the Tennessee Board of Medical Examiners; Randall E. Pearson, Phyllis E. Miller, Samantha
McLerran, Keith G. Anderson, Deborah Christiansen, John W. Hale, John J. McGraw, Robert Ellis, James
Diaz-Barriga, and Jennifer Claxton, in their official capacities as members of the Tennessee Board of Medical
Examiners; and Logan Grant, in his official capacity as the Executive Director of the Tennessee Health Facilities
Commission.

Defendants-Appellants appeal from the district court's Memorandum Opinion (ECF No. 167) and Order (ECF No.
168) preliminarily enjoining the enforcement of certain portions of Tenn. Code Ann. § 68-33-101, et al.

The appeal is taken against all Plaintiffs: L.W., by and through L.W.'s parents and next friends, Samantha
Williams and Brian Williams; Samantha Williams; Brian Williams; John Doe, by and through John Doe's parents
and next friends, Jane Doe and James Doe; Jane Doe; James Doe; Ryan Roe, by and through Ryan Roe's parent
and next friend, Rebecca Roe; Rebecca Roe; and Susan N. Lacy, on behalf of herself and her patients.

Defendants-Appellants intend to raise the following issue on appeal: Whether the district court abused its
discretion by preliminarily enjoining the enforcement of certain portions of Tenn. Code Ann. § 68-33-101, et al.




This is to certify that a copy of this statement was served on opposing counsel of record this 30th day of

                      June , 2023     .                    Steven J. Griffin
                                                           Name of Counsel for Appellant




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